
 W 148 LLC,
againstLisa N. McCracken, Respondent-Appellant, and"John Doe" and "Jane Doe," Respondents.



Respondent Lisa N. McCracken, as limited by her briefs, appeals from that portion of an order of the Civil Court of the City of New York, New York County (Laurie L. Lau, J.), dated August 25, 2017, which denied her cross motion for discovery in a holdover summary proceeding.




Per Curiam.
Order (Laurie L. Lau, J.), dated August 25, 2017, insofar as appealed from, affirmed, with $10 costs.
Respondent McCracken's cross motion for reciprocal discovery in connection with her succession claim was properly denied. Respondent failed to demonstrate "ample need" for discovery to ascertain petitioner's knowledge of her residence in the apartment (see Ludor Props. L.L.C. v De Brito, 48 Misc 3d 142[A], 2015 NY Slip Op 51261 [App Term, 1st Dept 2015]; Valor Realty LLC v Ragno, 26 Misc 3d 132[A], 2010 NY Slip Op 50062[U] [App Term, 1st Dept 2010]; see also New York Univ. v Farkas, 121 Misc 2d 643, 647 [1983]). The facts relevant to respondent's succession claim, such as her residence in the apartment and the period of co-occupancy with the now-deceased rent controlled tenant, are peculiarly within respondent's own knowledge (see generally 656 W. Realty, LLC v Blanco, 32 Misc 3d 128[A], 2011 NY Slip Op 51254[U] [App Term, 1st Dept 2011]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur
Decision Date: May 22, 2018










